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COURT - N.D. OF N.Y.

  

NORTHERN DISTRICT OF NEW YORK

 

 

UNITED STATES DISTRICT COURT | DEC 1 0 2021
| |

YOUNG AMERICA’S FOUNDATION; John M. Domurad, Clerk - Binghamton
BINGHAMTON UNIVERSITY ee
COLLEGE REPUBLICANS; and JON NOTICE OF MOTION TO
LIZAK, President of the College DISMISS PURSUANT TO RULE
Republicans of Binghamton University, 12(B)(5) FOR INSUFFICIENT
SERVICE OF PROCESS

Plaintiff(s),

-against-

HARVEY STENGER, President of
SUNY-Binghamton, in his official and Civil Action No. No. 3:20-cv-822
individual capacities; BRIAN ROSE, Vice
President for Student Affairs of SUNY Binghamton,
in his official and individual capacities; JOHN
PELLETIER, Chief of SUNY Binghamton UPD,

in his official and individual capacities, COLLEGE
PROGRESSIVES, a student organization

at SUNY-Binghamton; PROGRESSIVE

LEADERS OF TOMORROW (“PLOT”);
STUDENT ASSOCIATION OF

BINGHAMTON UNIVERSITY,

Defendant(s).

 

State of New York )
) ss:

County of Broome __)

Masai Andrews, being duly sworn, deposes and says:
1) Ihave no past or present involvement with PLOT. I have also never been present at a BU

protest.
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2) Plaintiff's counsel has provided zero evidence that I have ever been affiliated with PLOT,
aside from speculation and hearsay—much of which has been spread by plaintiff's counsel
themselves throughout these proceedings.

3) Plaintiffs counsel provided a false affidavit attempting to link me to a PLOT meeting that
documents prove never occurred (Exhibit A). Plaintiff's council also falsified their initial service
to myself and non-party Aviva Friedman at the start of this litigation—service that documents
provided to the court prove never occurred.

4) Ido not operate any social media accounts under any names or pseudonyms. Any
coincidences or similarities present on the five-or-so pages belonging to a “Roderick Douglas”
can be attributed to witnesses of public events or any person or persons with access to local news
reports. Despite this, plaintiff's council take these public and seemingly random postings as
factual evidence.

5) . In fact, after a quick Google search of “Roderick Douglas” I found public posts claiming
Councilwoman Aviva Friedman works for the C.I.A. and Roderick Douglas himself is a military
veteran. I have never served in the military, and I believe it’s highly unlikely Ms. Friedman
works for the C.I.A. (Exhibits B & C). Plaintiff's counsel is selectively presenting posts to
mislead the court while disregarding evidence that undermines their false claims.

6) A Binghamton Police investigation showed no connection between myself and the
Roderick Douglas Facebook page (Exhibit D), and a Daily Start photographer issued a retraction
after misidentifying me as “Roderick Douglas” in a photograph (Exhibit E).

7) The Roderick Douglas page is not representative of me, and I have no knowledge of who
operates that page or the PLOT page. I agree with plaintiff's counsel that they should subpoena

Facebook for pertinent information to finally put this issue to rest.
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8) Iam a high-level State administrator overseeing 6 counties in New York, a homeowner,
landlord, and a step-father. I admittedly participated in a select few protests during 2019 and
2020 (as did thousands of New Yorkers), was wrongly arrested and subsequently exonerated of
all charges. This was not a crime. It was my Constitutional right. I have no knowledge or
involvement of the claims made by plaintiff's counsel regarding prior protests or demonstrations.
Plaintiff's counsel is mistaken, at best, or maliciously trying to attribute this activity to any
convenient parties.
9)  Assuch, I am once again asking the court to end the Plaintiff's misguided attempts to
involve me in these proceedings, and furthermore dismiss this action against the community
group PLOT pursuant to rule 12(8)(5) for insufficient service of process, as I am not now, nor
ever have been, an authorized agent or otherwise affiliated.
CONCLUSION
1. On information and belief, it appears Plaintiff misidentified and eventually served the
wrong party as an agent of the Defendants, fabricated official court records to purport to
effectuate service that did not initially occur, and then tried to secure a default judgment by use
of the same defective documents.
2. On information and belief, either this was purposeful, or grossly negligent.
WHEREFORE, the undersigned prays that this Court dismiss the complaint of the
plaintiff herein with costs and disbursements to me as an individual, together with such other

relief the Court finds to be just and proper.

Dated: December 9, 2021
Binghamton, New York fo ai

Masai Andrews

 
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VERIFICATION
I, Masai Andrews, have read the foregoing Motion, and know the contents thereof. The
same are true to my knowledge, with the exception of matters therein stated to be alleged on
information and belief and as to those matters, I believe them to be true. To the best of
knowledge, information and belief, formed after an inquiry reasonable under the circumstances,

the presentation of these papers or the contentions herein are DE

Masai Andrews
Endicott, NY
Phone: 518.334.1883

 

STATE OF NEW YORK COUNTY OF BROOME

On the aay of ecemextin the year 2021, before me the undersigned, a notary public for
said state, personally appeared, personally known to me, or proved to me on the basis of
satisfactory evidence to be the individual whose name is subscribed to within the instrument and
acknowledged to me that s/he executed the same in his/her signature on the instrument, the
individual, or the person on the behalf of which the individual acted, executed the instrument.

Sworn to before me this
thaay of Deembet-2021.

, tamale Von Lolange.

Notary Public

 

PAMELA VAN BLARGAN
NOTARY PUBLIC STATE OF NEW YORK.
BROOME COUNTY

LIC. # 01VA6301676
COMM. EXP. Zz.

 
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Bing amto
www.bclibrary.info

 

Case 3:20-cv-00822-LEK-ML
October 3, 2019

William Martin

Justice and Unity for the Southern Tier
14 Narwood St.

Johnson City, NY 13790

Meeting Room Rental:

Broome County Public Library
Decker
Thursday, November 7, 2019
For 2 hrs. 6:00 p.m. — 8:00 p.m.
$60.00

These charges are assessed to assist us in offsetting the cost of janitorial and other staff services,
utilities, and wear and tear on rooms’ furniture in an ever-dwindling budget. We appreciate your support
and-hope to provide you with the a clean, safe, comfortable, and convenient place to hold your meeting
and to meet with your neighbors and friends. If you wish to appeal this charge for your future meetings
please send a written request to: Library Director Broome County Public Library 185 Court Street,
Binghamton, NY 13901-6429.

Please remit payment to:
Broome County Public Library

185 Court St.
Binghamton, NY 13901

Tax deductible donations to support the library can be made to the Friends of the Library.
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From: wgmartinl <wgmartin1@protonmail.com> Case 3:20-cv-00822-LEK-ML

Date: Fri, Oct 22, 2021 at 8:56 PM
Subject: event 2
To: Masai Andrews <masaiandrews@gmail.com>

October 22, 2021

To Whom It May Concern,

| can confirm that the event held in the Broome County Library on November 7**, 2019 was solely organized by Justice
and Unity in the Southern Tier, which reserved the room, paid the County for use of the room, advertised the event
under its sole name, and ran the event. The advertisement for the event clearly stated JUST as the organizer:

JUSTICE AND UNITY FOR THE SOUTHERN TIER

BROOME COUNTY. JAIL

Wide

Ve

SNM ize
P + %y,
Cz,

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EIN

A community forum allowing the
public to provide testimonies
§ related to abuse, neglect, mie
© mistreatment, and deaths at the z
» Broome County Jail.

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3
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_lattach a copy of the invoice from Broome County for the room reservation for the event. My letter to the Library
confirming the reservation is below. ! personally delivered a JUST payment to the Broome County Library, opened the
doors for the event, and was MC for the proceedings. _— —

Sincerely,

I + 4. L—

William Martin
Advocacy Coordinator, Justice and Unity for the Southern Tier

@
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Po Box #3

Bible School Park

NY 43737

Ernail: justice souther.terg@gmallesm
Web: wie justice ST .com

Susticn cet Wally port: Soumeern Tier Facebooic tinyurLcom/lust-$T

 

 

Sherry Kowalski

Head of Information Services
Broome County Public Library
185 Court St.

Binghamins, NY 15901

October 9, 2015

Sherry,
enclose a check for $60 to cover the rental for Nov 7. Can you change the time slightly to 5:40

wrasnesepEt ae

library closes at 8.

Thanks,

Bill Martin
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ROUVETICK SUUGGIASS
March 23>

 

With the mayor and police releasing statements, and local news reporting on last night's protest
at Councilwoman Sophia Resciniti’s house, | feel | have some responsibility to set the record
straight about what actually happened. So here goes:

Last night around &pm, Binghamton City Council President, Sophia Resciniti was taken hostage by
a small tactical unit of ANTIFA combatants dressed in black military uniforms. Binghamton SWAT
were called to the scene but were unable to negotiate her release. With tensions rising, Mayor
Rich “No Neck” David began exploring options to free Resciniti from her ANTIFA captors.

Desperate, Mayor Rich David called upon Binghamton Councilwoman Aviva Friedman, District 4
representative and U.S. Central Intelligence Agency exfiltration specialist for a consultation.
Friedman initially criticized David's efforts but was at a loss when asked for an alternative. Later
that evening, she began creating a complex cover story to facilitate Resciniti's rescue: that she Is
Canadian filmmaker who is in Binghamton scouting exotic locations for a science-fiction film
called “Argo.”

 

Friedman contacted Jahn Solak, a Hollywood make-up artist who had previously worked for the
CIA. Solak put Friedman in touch with film producer Joe Burns. Together, they set up a phany film
production company, publicized their plans, and successfully established the pretense of
developing a "science fantasy adventure" in the style of Star Wars, to lend credibility to the cover
story.

Meanwhile, Resciniti grew restless.

Posing as a producer for Arga, Friedman entered Binghamton under the alias Salka Valerio to
meet with Resciniti. Solak provided them with Canadian passports and fake identities, Although
afraid to trust Friedman's scheme, Resciniti reluctantly went along, knowing that she was risking
her own life too.

Friedman was eventually told that the operation was canceled to avoid conflicting with a planned
military rescue of Resciniti. But Friedman pushed ahead anyway, forcing her boss Roderick
Douglass to hastily re-obtain authorization for the mission and confirm their tickets on a Swissair
flight. Resciniti and Friedman boarded an airliner, which took off just as the Revolutionary Guards
at the airport were informed of the ruse and try to stop them.

And that's what really happened. Frankly, Friedman deserves a medal for her bold leadership and
quick thinking.

https://wbng.com/.../protests-at-binghamton-city-council.../
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| Roderick Douglass ces
6 September 27, 2018: @
| served overseas (USAF) directly after high school and still think the credit vets get for having a
"dangerous job" is overblown. So random shoutout to garbage collectors who put their lives on
the line for us everyday while performing a job that is 3x as dangerous as being in the military.

Y'all the real MVPs. And unlike waging unjust wars on brown people, removing trash actually
helps keep our communities safe. <37 ]

  

OO Nancy Wade-Hull, Garcia Mates and 593 others 20 Camments 613 Shares
gd Like () Comment & Share

Christine Albern Spivey
And they don’t even get paid well but they do get decent benefits atleast

q
Like - Reply « 3y O:»

&. Tameeka Tolliver

| give my city workers gatorade brawnies and loud love. Gift cards at Christmas.
They truly are MVP's... And... In some cities like Columbia,SC, its a guaranteed re-
entry job with benefits...for the newly released

Like Reply. 3y Od 32
= & Laura Connolly replied - 3 Replies

ey
he
ee

 

& Rob Stark

Good post!
Like - Reply : 3y

ae Colin Williams

Can we get them to remove the police?
Like . Reply . 3y (Ove 35

> Bs Quynian Vuorensyrja replied : 2 Replies
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CITY OF BINGHAMTON POLICE DEPARTMENT

DETECTIVE BUREAU
SUPPLEMENTARY REPORT
CASE NUMBER 2019-16,821

Inv. A. Legos-Williams

INCIDENT: Harassment

CODE: - 0170
DATE: 4-28-19
TIME: 1103 Hrs.

LOCATION: 27 Duane Ave.

Incident:
Patrol was called to the area of 27 Duane Ave. for a report of two males fighting in the

street, While enroute it was reported that the males stopped fighting and fled the area. Patrol
spoke with the caller at 27 Duane Ave., Renee Agantonvich. She said that two Hispanic males
were fighting in the street. The aggressor was a large build Hispanic male with a bald head
and the other male was a thinner build Hispanic male with black hair. Patrol then spoke with
Jossette Massol at 25 Duane Ave. She reported that her exboyfriend, Jorge Hernandez, got
into a physical fight with her current boyfriend, Masai Andrews. She said that Andrews was
probably upset that Hernandez came to the house to pick up the son that she and Hernandez
share. She did not know the date of birth for Andrews and said that he lives in Albany.

' Hernandez responded to Binghamton Police Hq to make a report. He had abrasions to
both hands, his right elbow, his nose and inside his lip, it also appeared that he had a broken
blood vessel in his eye. He was treated by medics and taken to Lourdes Hospital. He reported
that he has been having issues with Masso] about visiting their shared son. He went to her
house today to pick up his son and got Into an argument with her current boyfriend. He said
that he and the male got into a physical fight and he ended up on the ground while being hit.
He then fied the area and the male went back inside 25 Duane Ave.

Patrol did not speak with the other male involved.

 

Investigation taken as of 4-30-19:

| spoke with Hernandez on the phone. He said that he has not seen his son since March
29h so he decided to go to 25 Duane Ave. to visit his son without telling Massol. He went to
the door and Massol’s boyfriend came out of the house. He said that the male pushed him on
the ground and started to punch him. He was hit several times on the ground but he was able
to twist one of the fingers on the male’s hand and the male stopped hitting him. The male then
went back into 25 Duane Ave. and Hernandez left the area in his vehicle. He has seen this male
at 25 Duane Ave. a few times but he only knows him as Masai. He knows Masai to drive a gray
Ford Focus and to live in Albany. | told him that I would check the location and speak with this

male.

 

Cee neet he ete of mos amos
 

 

 

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Hernandez called me again. He said that he checked the Facebook profile for Massol
and she had on her page that she was dating a person named Roderick Douglas. He thought
that this was the male that he fought. I checked Facebook for Massol and this Roderick
Douglas. There were no photos of the two together and there were no photos on Roderick
Douglas’s Facebook page. | advised Hernandez that | was unable fo identify the male from this
‘page.
_ [responded to 25 Duane Ave. | knocked on the door but there was no answer. | left my
card in the door.

Investigation taken as of 5-3-19: ;
| spoke with Hernandez on the phone, He said that he drove by 25 Duane Ave. and saw a
silver vehicle parked on the street. He gave me a license plate of NY registration DYF2974 and
he said that he believed that the male suspect drove this vehicle. He was also very concerned
that the male that beat him up was not taking care of his child. | ran the plate in eJustice and it
came back to a female in Williamsport, NY. | spoke with Hernandez and | told him that | did not

believe that was the suspect's vehicle.

Investigation taken as of 5-7-19:
| received a message from Hernandez. He said that he drove by 25 Duane Ave. and saw

a vehicle that he thought was the suspect's vehicle. He gave two license plates, both New
York registration, FED2290 and FGG2290. The first plate did not come back registered to
anything. The second plate came back registered on a Ford Focus to Masai Andrews (@@@
| printed out the eJustice registration result. | then checked LERMS for Andrews. There was no
photo attached to his jacket but gave an address of 63 Belden St. | was not able to locate a
photo in his criminal history or through CJIMS. | advised Hernandez that | would speak with

Massol and Andrews at 25 Duane.

Investigation taken as of 5-9-19:
| responded to 25 Duane Ave. There was no answer at the door.

Investigation taken as of 5-11-19:
Il received a message from Hernandez. He said that he drove by 25 Duane Ave. and saw

Andrews's vehicle. _

| responded to 25 Duane Ave. and | spoke with Massol. She said that she did see
Hernandez and Andrews get into a physical fight but it was nothing. She added that
Hernandez has been texting her since the fight because she has not allowed him to see his
son. She did not like the texts that she was getting from Hernandez and she said that he was
calling her names in the texts. | asked to speak with Andrews and she said that he was not
there at the time. She said that he lives in Albany and only comes to 25 Duane Ave. on the
weekends. | gave her my card and | asked her to have Andrews call me.

Investigation taken as of 5-14-19:
I responded to 25 Duane Ave. and | spoke with Masso! again. | asked to speak with

Andrews and she said that he was in Albany. I asked if she gave him my card and she said
that she gave him that card and he said that he would call me. She told me to check back on

Saturday.
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Investigation taken as of 5-18-19:

] responded to 25 Duane Ave. to speak with Andrews. There was no answer at the door.
I called the phone number listed in LERMS for Andrews, 518-334-1883. There was no answer

and I left a message.

Investigation taken as of 5-20-19:
| spoke with Hernandez on the phone. | told him that I was not able to speak with

Andrews. | asked if he would be able to identify the suspect if he saw a photo. He said that he
would be able to identify the male by photo. I told him that ! would be contacting him again in

the next week.

Investigation taken as of 5-28-19:
| constructed a photo array with Masai Andrews, There was not a photo in CJIMS for

Andrews. | used the DMV photo for Masai Andrews.

Investigation taken as of 5-29-19:

Sgt. Flanders and | responded to 73 Moeller St. Apt. 2. Sgt. Flanders conducted the
Photo Array with Hernandez. The photo array process was recorded by Axon body camera.
Hernandez viewed the photo array and indicated that the male in photo number 6 was the
same male that hit him on 4-28-19. He circled the photo and initialed his name. Sgt. Flanders
also updated Hernandez deposition with the identification in the photo array.

Investigation taken as of 12-31-19:

As of this time | was unable to contact Masai Andrews in order to interview him about
the incident. At this time the incident will be closed as mutual combatants with Masai Andrews
being positively identified as being involved. Nothing Further.

Case Closed- Non criminal.

A. Legos-Williams
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From: Sarah Eames <seeames1995 @gmail.com>
Date: Sat, Oct 23, 2021, 12:09 AM

Subject: Re: August 2020 article
To: masai andrews <masaiandrews@gmail.com>
Of course! So sorry about that. My bad entirely.

! actually took that photo when | worked for the Daily Star in Oneonta (I’m at the Press & Sun now). I’ll let them know
ASAP.

Based on their stylebook, the correction will probably read something like: “Due to a reporter's error, the speaker in this
Aug. 15, 2020, photo that appeared online only was incorrectly identified. The speaker's name is Masai Andrews. We
apologize for the error.”

On Fri, Oct 22, 2021 at 11:56 PM masai andrews <masaiandrews@gmail.com> wrote:
Good evening,

in an August 2020 Press Connects article a photo of me was published with an incorrect name given. | believe the to be
an honest mistake.

Would you be willing to publish a retraction, or confirm that the name printed in the original article—"Roderick
Douglas" —was not verified prior to publishing?

My correct name is Masai Andrews, and | am not affiliated with PLOT.

Thank you!
